Case 2:04-Cr-20501-BBD Document 35 Filed 06/22/05 Page 1 of 2 Page|D 46

IN THE UNITED sTATEs DIsTRIcT CoURT F“-f‘-”" ri"*' ~-MC
FoR THE WESTERN DISTRICT oF TENNESSEE

 

 

WESTERN DIVISIoN 135 .!UN 22 PH 3= 35
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UNITED sTATEs oF AMERICA W_D_ @,e ,N_ aware
V.
04-20501-0
ANToNIo sTACKER
oRDER oN ARRAIGNMENT

Superseding Indictment

This cause came to be heard o 2 , the United States Attorney
for this district appeared on behalf of the vernment, and the defendant appeared in person and with

counsel:

NAME/¢% %M y?é?.' @¢ (_/J/A/g who is Retained/Appointed.

 

 

______-___
The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a Distn'ot Judge, such period is extended.

Uefendmt, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

 

UN'ITED STATES MAGISTRATE JUDGE

CHARGES: 18:922(g);
U. S. Attomey assigned to Case: K. Earley

Age:

This dochent entered on the docket sheet ln mp\lance
with R.l|e 55 and/or 32be FRCrP on _ __LL£LQ§' ‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20501 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

